

People v Marywal G. (2023 NY Slip Op 04940)





People v Marywal G.


2023 NY Slip Op 04940


Decided on October 03, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 03, 2023

Before: Oing, J.P., Friedman, Kennedy, Shulman, Pitt-Burke, JJ. 


Ind. No. 3735/16 Appeal No. 703 Case No. 2019-5641 

[*1]The People of the State of New York, Respondent,
vMarywal G., Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Alyssa Gamliel of counsel), for appellant.



Judgment, Supreme Court, Bronx County (Julio Rodriguez III, J.), rendered August 14, 2018, convicting defendant, upon her guilty plea, of burglary in the third degree, adjudicating her a youthful offender, and sentencing her to a conditional discharge for a period of three years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and crime victim assistance fee imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharge and fees
imposed on defendant at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People do not oppose this relief. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 3, 2023








